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                         IN T}TE UNITEDSTATES DISTRICTCOURT
                      FOR THE WE;TERN DISTRICT OT            WEMNSN


  U}JITED $TATES OF AMERICA

                                                          Case   No.: 20{R-122-WMC

   KElr"lN SHlBll.SKI,

                          Drfendant.


                                       rLEA AGREIMENT


         1.   This is the proposed plea agpeement between the defmdant and tlre
  UniEd States in the above<aptioaed case.

         Z.     rLEA AND rENALTIES: The defendant             agrees to waive indictnent and
  ptead guilty to Cotrnt 1 of the infcrmation filed by the   Unild  States Attomry's Office'
  ffris *t-t'.ftatgec a vblation   of Title 25, Urdted States Code  Section 7202, *99q b
  hrre ExEaction Inc. and Wiscoruin logistical Solutioru,    Ll,C, companies   of  which he
  was a prirripal which carries malimum penalties     of five  years in prison and  a $250'fr)0

  fine, a'three.year perffi of zupervised release, and a $1fi) special assessment'   ln
  addition b these 111aximum penalties, any violation of a supen'ised     releace term  eould
  lead to an additional imprisonmmt terrr pusuant to 1,8 Us|.C $       3583. The  ddendant
  agrees to pay the speciaf assessment at or More sentmcing and understands that the
  C-oufi rrill enter an order requiring the immediate sp$ial assescmentpayment under lE
  US.C. S 3013. ln an appropriate ca$e, the defendant could be held in conempt of court
  and rcceive an additional sentence for failing to Pay the sPctisl assessment.

         \.       RIGIITS WAMD BY PLEADING GI'IILTY: The defendant
  ackrmwledges by pleading guilty, that he h grving up these rights; (a) b plead not
  guitty and to persist in ttrat plea; (b) b a iury trial; (c) to be representHl by counsel - and
  it r,ectctary to have tlre Court appoint cuunsel - at trial and at wery othtr stage of the
  trhl foceedings; (d) b confront and cross,+xarnine adverse wiheses; (e) to be
  protected from compelled self-in<rinination; (f) to testify and present evidence; and (g)
  to compel lhe atendance of witrnsss.

         4.     IMMIGRATION CONSEQUBNCES: The defendant understrnds that
                           UniM States citizen, he may be removed from the United
  upon convictioo if he is not a
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 Stntfs, denisd citizenship, snd dsded fun5r admission to the Unied States. The
 defendant nsvertheless affirms that he wanB to plead guilty regardless of any removal
 ard immigration conealuences that his plea may entail, even il the conseguence is
 &utsmati( rcmoval {rom tht United Statm.

       5.      FACTUAL BASIS: The defendant agxees that tlte following facts are true,
 cnrrect, end thas iI this case were to procned to trint, the government would bt able to
 prove there facts beyond a reasonable doub't. The defendent ackrxrwledges,
 understands, and agrees that he is, in fact, guilty of the offense desg.ibed herein

               a.      The defendant entered into a purchase agresment dated March 1,
        2013 m purchase 5R Processors, Ltd (5R) from Tom and |o Arur Drake for
        $r,000,m, payable in irrremenb of $100,000 a year for 10 yearu from 2015 to
        2025, to include efforts to relinance and personal aseumption of debl

               b.    Effective MarrJr l, 2013, the defendant hcame the Chief Execrrtive
        Officer and Chief Financial Officer of 5R. Iim Moss continued as Presidmt and
        COOof 5R.

               c.    The defendant ceated entities called Pure Extractions (PE) in fune
        2014, and Wisconsin Logistics solutions LLC (WIs) in Febnrary 2015"

               d.    The defmdant periodically received some financial updates from
        the acoounting staff showingwhichvendor bills were due for paymentandttre
        amoun6 due. The* lise included the withheld employment taxes due for PE
        and 1{lS.

               e.      The defendant failed to ensure that the accourting staff(either
        dite.tJy or indirectly through Moss) timely paid bilh, which irrcluded the weekly
        mrployment taxes due to the If,S for PE and WIS.

               f.      The defendantreceived hi"puy via payables checks, andcontinued
        to reoeive his rmt checl6, during the periods whm the occorxrting etaff failed to
        pay the employment taxes to the II{S.

              g. nrring the quarters 201509 to 201606 PE did not Pay over t'o the
        IRSwithheld employrrent taxes ot*E,732. During the quatters 201503 to 2m606,
        WIS did not pay over t0 the tRS withheld employment tax* of $128.726.

               h.    On March 15, m15, the defendant met with IRS Revenue Offker
        Tim Smith to diruss unpaid employment taxes.'[he defendant told Smith that
        the defendant wae the person re*ponsible for paying the employment taxes and
        he was endeavoring to rereive banlt financing to settle clairs with the IRS. The
        defmdant told smith the employment taxes were not paid because tIrc company


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         was not making a profit. The defundant told Smi& he would be getting a
         rdinuxrng loan to pay the taxes.
                   r.  !V[S and PE were locatetl in ladysuuth, Wisronsin, which is in the
         lrye$$rn District r:f t{Lxonsin, and the 9{I Employment Tax Return* fin these
         two *ntiti*s wcre filed with ilrr IRS from the Western District of Wisconsin

       This information i$ provirled to establish a factual basis, for whidr he aoceptr full
 responsrhility, for the dcfendant's guilty plea. It is not a fult recitation of the defendant'r
 knnwhdge of, or participation in' this offense

           6.  SCOPE OF BESOLUTION: Th* UniM States agrees that this guilty plea
 will completely resolve all possible federal criarinal violations that have occurred in the
 We$smbrstrict of Wironsin provided that hryo conditions are met (a) tlrc criminsl
 ornduct relates to the conduct deccribed in thc information; and (b) the <riminal
 conduct was known to the United States as of the date of this plea agreement This
 agreement not to prosscute is limite{t to those types of cas€s for which the UniM Stam
 *tttorney's Officelor the Westem Disrict of t{isconsin has exdusive deciriorrmaking
 authority. The defendant also understands that the UniM States will mrke ib fu[
 discovery file available to the Prcbation Officr for its use in preparing the presentenct
 rcpsrt.

             7.    DtSMlsstNG REMAINING CHARGES: The United sbtes                   agrees to
 move to dismiss all the counts in the superseding indictment at sentenring-

             8. ACCEPTANCE OF RESPCINSIBILITY: The united states aglees to
  reconrmend that the Court, in computing the advisory Sentencing Guideline rangq and
  in senhncing the defendant, gives ihe defendant dre maximum available reduction for
  ecaeptalr€ i responsibility. Thit recommendation is based upon facls anren0y known
  to the United States and is contingent upon the defmdant accepting responsibility
  actording to the factors set forth in USSG $ 38t.1. Furtfier, the United Staks' agreement
  m recorrirend a reduction for acteptance of resporuibility is also hsed on the
  defendant providing a fult and truthful accounting in the required financial staternent
  *A, if rppil.uble, th1 defundant's efforts to make immediate rmtitution paymentr. Tho
  UniM St to i" free to withdraw this recommendation il the defendant has pret'iously
                                                                                     with
  *r,g"g"d in any corxtuct that is unknown ho the united staEs and is irronsistent
              of resporsibility, or if he engages in any mnduct heh*een the date of this
  ".&fO**
  pu, lgr*rn*t and ttre *ni*.ing hearing, which is incoruistent with acceptame of
  iop"fuiUUty.    This recommendation is consistent with the delendant signing this plca
  agreement on or belore APtrl7,NZZ'

             g.    RESTITUTION: The defendant agrecs to pay restitution for all losses
                the offense of conviction - specifically thc cmployment tnxes
                                                                                 for 14I[5 and
  relating    b
                                                                                       or, if the
  pE.   ld    parties will agree up*n the exait restit'ti'n figure be{ore senterrcing


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 p.rties cannot agr.€'F upon a specific figure, the Court will determine restitution at
                                                                                  is due and
 sentpncing. nr*-,1**rriunt furttrer ogi*" fhat the full amount of rertitution
 payable immediately. Delerdant actnowledges &at immediate           payment   mealul
 paynrnt in good fain from the liquietation of all non4xemPt assets beginning
 immediatelY.

        l0.PAYMENTSBYTHEDEFENDANT:Thedeferdantagrsesh)Pay
                                                                                            and
 rnoniec towards the remediation of the CRT glass sioregt sites for 5R in Wisconsin
 Tenne$6tt in the amount ofr   (l) $lm,m    puy"Ut"  to the  Wisconsin  Deparlllnt    of
                                                                                          .-.
 Natural Rsources, clo Margaiet Hooper-Firl l2"l0l S. Webster Sbe€t537ff7; tnd
                                                                                         (2)
 $100,000 payable ro PaintOik LLC, c/L Rick Hinchey{EO, P'O. baxS?i76,
                                                                                    Knonrille,
 TN 3890. i?ti, *oney shall be     paid by the defmdant    to his attorncy's trust aqotnt     on
                                                      disburred   upon  the  Court's Order    at
 or beforr the day of the plea hearing and   shall be
 *nlencing.

        11.    FINANCIAL STATEilTENT: Tlm de(eruilant agreer to compleE tle
 attxhed finardal statearent and retum it b thb office within one week of the guilty
 pka hearing. The de{mdant ag1ees that this frnancial statement will be a full and
 i*tfrf"f acrirmting, including all avail,abte supporting docummtation The defendant
 authorizes the United States ittorney's Office to nrn the defendant's mdit reportThe
 ddmdant also agree Sut Ore probation offrt may didose to the UniM States all
 financial sttMr€nts to be completed by the defendant in connrtion with the
 preparation of the preenence rcporL to8ether with all supporting docummts.

        12-     SENTENCING DISCUSSIONS: Other than agreemente specifically set
 for& in thb plea rgr€ement, the defundant understands that senErcing discussbns ere
 not part o, the plea'agreenru*. The defendant should not rely upn the possibility of a
 p"r1t"t r"r smterr(e U.*O ,rpon any sentencing dirtrssions between deftrrse counsel
 and the United $taEs, otlrer than those memorializetl in this plea agreement

        13"     SENTENCING RECOMMENDATIONS:Thedefendantacknowledges
 hir urderctanding that the Unibd Statnc has made no promises or guaranber regarding
 the sentencr that;ifl be imposed. Tlre defendant also acknowtedgm his understanding
 that the Court may not accept tlrt rccommendations, whidr mty be made by the United
 States, ild lhat tlu Court can impoee any senEnce up to and including the maximum
 pcnalties set out above.

        1{.     VOLL,INTARINE$S OF PLE& The defendant aclmowledges that no
 Stl.eaB, promises, rcpre3entationt, o, agrermeate exist, other than drose set forth it! thig
 agr€rmsrt, to cause the defendant to plead guilry. Defmdant acknowledges thlt he har
 read this sgre'Emenl, has carefully reviewed it with his attorney and undersbnds and
 voluntarily.ccePts all iu terms.




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           15.  THIS IS THE ONLY PLEA AGREEMENT: By our eignatues belol' !t1
                                                                      agrcement in thil
  def*ndant nnd defense countel achnowledge that this is theonly plea
  eart. Jle priar plea &grerlment dnted 1'29-32 is nult and void'

        16.PIEAAPPRovAkAllpleag8reementsmustbeapprovedbytheUnited
  StatesAtsrney or designee. Thir plea proposal has not yet been apprnved'
                                                                         final ac<eptanae
  Conraqurntly, I have nit signed tiri, ptopos*rl plea agfeement and the
  i* mnditioned upon ruperviscry approval.



                                          TIMOTHY M. CTSHEA
                                          Unitcd Srates AttorneY

     q- 7- v:b
  Datr                                    DAN'TEL'.       BER
                                          Assistant United States AttorneY


  ol
  Date
         ,O?,?L                                    BREWSTER
                                          CHRIS VAN WAGNER
                                          Attorneys for the Defendant


                 IZ                              SHIBILSKI
  Date
                                           Defendant




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                               ACKNOTTILEDGEMENTS

 l, KEVTN SHIBII.SKI am €ntering into this plea agreement fr5[
                                                                  and voluntarily' I am
                                                            alcohol, or other intoxicant
 nnt now on or under the influenti of any drug, medicatiorU
 or deprcssanL whether or not prescribed by alfrysiciilt *ry*   wguld   imPair my ability
                                                            My  atbmey    has reviewed
 to underctand the terms and mnditions of this'agfeement.
                                                         implicatioru of the sentencing
 the srtire agreemcnt with me and haa advised rne of the
 gr.iO"lir*.i  have discussed all aspccts of this case with my attorn€yr-T{O-:t-11"""-
 Ifr"rg*$ again t me, the elements n}tho** chargcs, and poccible
                                                                  ddenses' I am sattsheo
 ttratiry uirt".y has provirled effuctive assistence of qtrnsel'



 Date                                    KEVIN SHIBITSKI
                                         Defendant


                                                                        with the
 I am the defendant's attomey. I have resiewed this agreement carefully
                                                                                is an
 defendant To my knowhdfe, my client's decision to enter into this agreement
 informed and voluntan' one.



        J
                                                K BREWSTER
                                         CHRISVAN WAGNER
                                         Attomeys for Defendant




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